
212 Va. 771 (1972)
GEORGE A. CLAAR, JR.
v.
ROBERT S. CULPEPPER, ANCILLARY ADMINISTRATOR AND ROBERT E. HARTSHORN, ADMINISTRATOR OF THE ESTATE OF LYNDA SUE HARTSHORN, DECEASED.
Record No. 7809.
Supreme Court of Virginia.
April 24, 1972.
Present, All the Justices.
Judgment reversed insofar as it provides damages for pecuniary loss, since record does not show basis for such award.
Error to a judgment of the Corporation Court of the City of Newport News. Hon. Douglas M. Smith, judge presiding.
Daniel W. Wilkinson, Jr. (West &amp; Wilkinson,    on brief), for plaintiff in error.
William T. Prince (Williams, Worrell, Kelly &amp; Worthington,    on brief), for defendants in error.
Per Curiam.
In this action for wrongful death, the jury returned a verdict for the plaintiffs and awarded damages to the decedent's son for pecuniary loss, as well as damages to the decedent's husband and son for solace.  Code | 8-636.  The trial court entered judgment on the verdict, and this appeal ensued.
The decedent had no earnings and made no monetary contribution to her family at the time of her death.  Counsel therefore seeks to support the award for pecuniary loss on the services rendered by the decedent to her son.     See Pugh Yearout, Adm'r,    212 Va. 591, 186 S.E.2d 58 (1972).
The record does not show, however, the nature of the services rendered by the decedent.  So the jury had no basis for awarding damages for loss of services.  We must therefore reverse the judgment insofar as it provides damages for pecuniary loss.
Reversed and final judgment.
